                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,                                 Case No. 15-CR-117-PP

                   Plaintiff,

v.

YOLANDA PARKER,

                  Defendant.
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 DECISION AND ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
 RECOMMENDATION (DKT. NO. 348) AND DENYING DEFENDANT’S FIRST
           MOTION FOR BILL OF PARTICULARS (DKT. NO. 297)
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      On June 9, 2015, defendant Yolanda Parker and several co-defendants

were indicted by a federal grand jury on federal drug charges—conspiracy to

possess with intent to distribute controlled substances in violation of 21 U.S.C.

§§841(a)(1), (b)(1)(C) and 846 and 18 U.S.C. §2, and use of a communications

facility to facilitate conspiracy to distribute controlled substances in violation of

21 U.S.C. §843(b) and 18 U.S.C. §2. Dkt. No. 115.

      On December 14, 2015, the defendant filed a motion pursuant to Fed. R.

Crim. P. 7(f), asking the court to order the government to provide her with a bill

of particulars. Dkt. No. 297. The motion laid out in detail the information the

defendant sought, including the identity of any witness who had participated in

a controlled buy of heroin from the defendant, the identity of any witness who

claimed to have purchased heroin from the defendant, the identity of any

witness who claimed to have seen the defendant distribute heroin to others, the


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identity of any witness who claimed to have seen the defendant prepare heroin

for distribution, the identity of any witness who claimed to have seen the

defendant in possession of any indicia of drug dealing (paraphernalia, drugs,

cash), and any other evidence that would demonstrate that the defendant was

obtaining heroin from the her co-defendants for the purpose of distributing to

others. Id. at 1-2.

      In support of this motion, the defendant argued that the discovery she

had received from the government to date showed the following:

      *      That an “upper-level” distributor in the “Rayford Williams drug

trafficking organization (Williams DTO)” had identified the defendant and her

husband (the nephew of Rayford Williams) as heroin users, to whom the

distributor had supplied heroin in the past;

      *      That the defendant herself had admitted to law enforcement that

she and her husband were heroin users, and had purchased drugs from the

Williams DTO in the past;

      *      That evidence of over one hundred telephone and text

communications between the defendant, her husband, Rayford Williams and

another alleged member of the Williams DTO, George Seals, over the period

between January 18, 2015 and May 6, 2015 revealed that the defendant and

her husband “ordered anywhere between a half gram to three grams of heroin

from the Williams DTO;”




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       *     That none of those communications contained discussions of the

defendant selling, or intending to sell, the heroin she obtained from the

Williams DTO;

       *     That the communications instead revealed that the defendant was

a heavy heroin user, who contacted Williams and Seals in desperation when

she needed a fix; and

       *     That during the conversation that formed the basis for the two

counts against her, the defendant informed Williams that she wanted three

grams on Friday, mentioned nothing about selling or distributing those three

grams, and instead complained about someone named “Larry Joe” stealing

from, and shorting, her and her husband on a half-gram of heroin the

defendant had previously purchased. Id. at 2-3.

       In the motion, the defendant argues that the indictment does not provide

any facts to support its allegation that the defendant was distributing drugs, or

conspiring to distribute drugs, or using a phone to facilitate a conspiracy to

distribute drugs. Id. at 3. She argues that without such information, she

cannot defend herself against the distribution and conspiracy charges. She also

argues that given the volume of discovery in the case, she needs more specific

information to be able to defend herself against these charges. Id. Finally, she

argues that requiring the government to provide a bill of particulars will assist

the court in pre-trial processing, and will cut down on the amount of taxpayer-

supported time appointed counsel will have to spend preparing for trial. Id. at

3-4.


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      The government objected, arguing that the indictment, combined with

the discovery materials, provided more than enough information to allow the

defendant to defend against the charges and to prepare for trial. Dkt. No. 322

at 11. The government argued that the defendant was not entitled to obtain the

details of the government’s case strategy. Id. at 12. The government also

reminded the court of its open file policy, and argued that the motion

amounted to the defendant’s attempt to require the government to explain

which pieces of evidence it intended to produce at trial with regard to the

defendant. Id.

      On March 11, 2016, Judge Joseph issued a recommendation that this

court deny the defendant’s motion for a bill of particulars. Dkt. No. 348. Judge

Joseph laid out the authority provided the court in Rule 7(f), as well as the case

law describing the test a court should apply in determining whether to require

a bill of particulars. Id. at 2. The question the court must answer, Judge

Joseph found, is “whether the indictment sets forth the elements of the offense

charged and sufficiently apprises the defendant of the charges to enable him to

prepare for trial.” Id. (quoting United States v. Fassnacht, 332 F.3d 440, 446

(7th Cir. 2003). Judge Joseph also noted that the Seventh Circuit has held that

when the government follows its open file policy, a bill of particulars is not

necessary. Id. at 2-3 (quoting United States v. Canino, 949 F.2d 928, 949 (7th

Cir. 1991).

      After discussing the defendant’s arguments, Judge Joseph found that a

bill of particulars was not appropriate. She found that the indictment tracked


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the statutory language, and contained the elements of the charged offenses.

She also noted that the defendant was not arguing that the government had

failed to follow the open file policy. With regard to the defendant’s argument

that a bill of particulars would make counsel’s preparation time more efficient,

Judge Joseph agreed with the government that the government was not

required to identify the specific pieces of evidence the government planned to

present, or the details of how the government would prove its case. Id. at 4.

Judge Joseph concluded that the combination of the indictment and the

discovery provided was sufficient to allow the defendant to defend herself

against the charges. Id.

      The defendant did not object to Judge Joseph’s recommendation, and

this court agrees in whole with Judge Joseph’s conclusions. Accordingly, the

court ADOPTS Judge Joseph’s report and recommendation (Dkt. No. 348) in

whole, and incorporates her conclusions and the reasoning supporting those

conclusions into this order.

      The court ORDERS that the defendant’s December 14, 2015 motion to

for a bill of particulars is DENIED. (Dkt. No. 297).

      Dated in Milwaukee, Wisconsin this 5th day of April, 2016.




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